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                    1   COOLEY LLP                                    COOLEY LLP
                        MICHAEL G. RHODES (SBN 116127)                ROBBY L.R. SALDAÑA (DC No. 1034981)
                    2   (rhodesmg@cooley.com)                         (rsaldana@cooley.com)
                        WHITTY SOMVICHIAN (SBN 194463)                (pro hac vice)
                    3   (wsomvichian@cooley.com)                      1299 Pennsylvania Avenue, NW, Suite 700
                        JEFFREY M. GUTKIN (SBN 216083)                Washington, DC 20004-2400
                    4   (jgutkin@cooley.com)                          Telephone: +1 202 776 2109
                        AARTI REDDY (SBN 274889)                      Facsimile:     +1 202 842 7899
                    5   (areddy@cooley.com)
                        LAURA M. ELLIOTT (SBN 286702)
                    6   (lelliott@cooley.com)
                        KELSEY R. SPECTOR (SBN 321488)
                    7   (kspector@cooley.com)
                        REECE TREVOR (SBN 316685)
                    8   (rtrevor@cooley.com)
                        ANUPAM DHILLON (SBN 324746)
                    9   (adhillon@cooley.com)
                        3 Embarcadero Center, 20th floor
                   10   San Francisco, CA 94111-4004
                        Telephone:     +1 415 693 2000
                   11   Facsimile:     +1 415 693 2222
                   12   Attorneys for Defendant
                        GOOGLE LLC
                   13

                   14                               UNITED STATES DISTRICT COURT

                   15                             NORTHERN DISTRICT OF CALIFORNIA

                   16                                       OAKLAND DIVISION

                   17

                   18   In re Google RTB Consumer Privacy               Master File No. 4:21-cv-02155-YGR (VKD)
                        Litigation,
                   19                                                   GOOGLE LLC’S UNOPPOSED
                                                                        ADMINISTRATIVE MOTION TO EXTEND
                   20                                                   TIME TO MOVE TO SEAL THE
                        This Document Relates to: all actions,          DECLARATION OF LESLIE E. WEAVER AND
                   21                                                   ACCOMPANYING EXHIBITS 1-13(ECF NO.
                                                                        272)
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COOLEY LLP
ATTORNEYS AT LAW                                                                           GOOGLE LLC’S UNOPPOSED
 SAN FRANCISCO                                                                        ADMIN. MOTION TO EXTEND TIME
                                                                                   CASE NO. 4:21-CV-02155-YGR (VKD)
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                    1          Pursuant to Local Rule 7-11, Google LLC (“Google”) respectfully submits this unopposed
                    2   Motion for Administrative Relief seeking a seven-day extension, until August 12, 2022, to file its
                    3   Motion to Seal portions of the Declaration of Leslie E. Weaver (“Weaver Declaration”) and
                    4   Exhibits 1-13 (“Exhibits”) (ECF No. 272) in connection with the Parties’ Joint Letter Brief
                    5   Regarding Named-Plaintiff Data (“Joint Letter Brief”). Google has conferred with Plaintiffs to
                    6   request their stipulation to this seven-day extension, and Plaintiffs consented to that request. (See
                    7   Declaration of Aarti Reddy at ¶ 9.)
                    8          On July 18, 2022, the Parties agreed to a schedule for preparing and submitting the Joint
                    9   Letter Brief to the Court on July 29, 2022. (See id. at ¶ 2.) Based on this schedule, Google’s first
                   10   opportunity to see Plaintiffs’ portion of the Joint Letter Brief and any supporting evidence was on
                   11   Wednesday, July 27, 2022 at 4:00 p.m. In addition to their respective portion of the Joint Letter
                   12   Brief, Plaintiffs attached a draft of the Weaver Declaration along with the thirteen supporting
                   13   Exhibits. (Id. at ¶ 4) The Parties exchanged the final versions of their respective submissions on
                   14   Friday, July 29, 2022 at 6:00 p.m., shortly before filing. (Id. at ¶ 3.)
                   15          Given the short time for Google to review Plaintiffs’ final version of the Weaver Declaration
                   16   and Exhibits, the undersigned counsel for Google require additional time to carefully evaluate the
                   17   information contained in the Declaration and Exhibits, which do not involve discovery from this
                   18   action. While Google promptly moved to strike the Weaver Declaration and Exhibits (ECF No.
                   19   274) on the grounds that Plaintiffs’ reliance on these documents violates this Court’s Standing
                   20   Order and the District Court’s Order concerning the cross-use of discovery, the Court has yet to
                   21   rule on the emergency motion. (Id. at ¶ 7.) As such, the undersigned counsel for Google must
                   22   proceed with evaluating public disclosure of the information submitted by Plaintiffs.
                   23          First, all of the Exhibits are documents produced in the Calhoun v. Google matter, the
                   24   majority of which were marked as “Confidential” and or “Highly Confidential – Attorneys’ Eyes
                   25   Only.” (Id. at ¶ 5.) Counsel, who does not represent Google in the Calhoun matter, is not readily
                   26   familiar with these documents and must carefully review them in order to ensure that disclosure of
                   27   these documents will not violate the Protective Order (ECF No. 61) in that case. Second, at least
                   28   one of the Exhibits relates to one of the named Calhoun Plaintiffs. The undersigned counsel for
COOLEY LLP
ATTORNEYS AT LAW                                                                                    GOOGLE LLC’S UNOPPOSED
 SAN FRANCISCO                                                             2                   ADMIN. MOTION TO EXTEND TIME
                                                                                            CASE NO. 4:21-CV-02155-YGR (VKD)
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                    1   Google must not only evaluate the substance of the document for particularly sensitive information
                    2   as to Google but as to the individual Plaintiff as well.
                    3               Given the pendency of Google’s motion to strike, a short continuance of the deadline for
                    4   Google to move to seal the Weaver Declaration and Exhibits would promote judicial economy by
                    5   ensuring that the undersigned counsel for Google and the Court have sufficient time to consider the
                    6   confidentiality of the information contained therein. It also would not interfere with the case
                    7   schedule as Google already intends to seal the underlying Joint Letter Brief by August 5, 2022.
                    8               Accordingly, Google respectfully requests the Court grant its unopposed request for a
                    9   seven-day extension until August 12, 2022 to move to seal the Declaration of Leslie Weaver and
                   10   accompanying Exhibits.
                   11   Dated: August 5, 2022                                  COOLEY LLP
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                                                                               By: /s/ Aarti Reddy
                   14                                                              Aarti Reddy
                   15                                                          Attorney for Defendant
                                                                               GOOGLE LLC
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 SAN FRANCISCO                                                             3                    ADMIN. MOTION TO EXTEND TIME
                                                                                             CASE NO. 4:21-CV-02155-YGR (VKD)
